






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-08-00069-CV






Michael G. Brown, M.D., Appellant


v.


The Texas State Board of Medical Examiners and Donald W. Patrick, M.D., J.D.,
Appellees






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 345TH JUDICIAL DISTRICT

NO. D-1-GN-06-001482, HONORABLE STEPHEN YELENOSKY, JUDGE PRESIDING








NO. 03-08-00094-CV






Michael G. Brown, M.D., Appellant


v.


The Texas State Board of Medical Examiners and Donald W. Patrick, M.D., J.D., 

Appellees






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 345TH JUDICIAL DISTRICT

NO. D-1-GN-06-001121, HONORABLE STEPHEN YELENOSKY, JUDGE PRESIDING



	

				

M E M O R A N D U M   O P I N I O N



		In March 2006, appellant Michael G. Brown filed an original petition with the district
court, and the district court assigned the petition as cause number D-1-GN-06-001121.  In April
2006, appellant filed a companion original petition, and the district court assigned the companion
petition as cause number D-1-GN-06-001482.  In August 2006, the district court consolidated the
two causes into cause number D-1-GN-06-001482.  In January 2007, the district court held an
administrative appeal hearing in cause number D-1-GN-06-001482.  The final order from the
administrative appeal hearing, however, was inadvertently filed under cause number D-1-GN-06-001121.  Appellant thereafter filed notices of appeal under both cause numbers.

		The parties have filed an agreed motion to consolidate the two appellate causes.  We
grant the agreed motion to consolidate.  The issues, records and documents filed in appellate cause
number 03-08-00094-CV are consolidated into appellate cause number 03-08-00069-CV.  The
consolidated causes will proceed under the style of cause number 03-08-00069-CV.  Appellate cause
number 03-08-00094-CV is dismissed.



						__________________________________________

						Jan P. Patterson, Justice

Before Justices Patterson, Puryear and Henson

Dismissed

Filed:   April 11, 2008


